
954 A.2d 457 (2008)
405 Md. 488
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
David ALEXANDER, Jr., Respondent.
Misc. Docket AG, No. 94 September Term, 2007.
Court of Appeals of Maryland.
August 18, 2008.

ORDER
Based up on the terms of the Joint Petition for Disbarment and Affidavit filed by David Alexander, Jr. in accordance with Rule 16-772, and the written recommendation of Bar Counsel, it is this 18th day of August, 2008,
ORDERED, by the Court of Appeals of Maryland, that David Alexander, Jr., be, and he is hereby, disbarred by consent from the further practice of law in the State of Maryland; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of David Alexander, Jr. from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
